                 Case 2:24-cv-00189-JRG                             Document 1-3                    Filed 03/16/24                     Page 1 of 1 PageID #: 67
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Pointwise Ventures LLC                                                                                 Roadget Business Pte. Ltd.

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                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Rabicoff Law LLC
4311 N Ravenswood Ave Suite 315, Chicago, IL 60613
7736694590
,, %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                   ,,, &,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
u  86*RYHUQPHQW              u  )HGHUDO4XHVWLRQ                                                                     37) '()                                              37)     '()
        3ODLQWLII                         (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u     u         ,QFRUSRUDWHGor3ULQFLSDO3ODFH        u       u 
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u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u     u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH      u       u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

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u )RUHFORVXUH                u 9RWLQJ                  u $OLHQ'HWDLQHH                 ,QFRPH6HFXULW\$FW                RU'HIHQGDQW             u )UHHGRPRI,QIRUPDWLRQ
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                                       35 U.S.C. 271, et seq.
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                                       Patent infringement
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